Case 1:19-cr-00535-GHW Document 44 Filed 11/06/20 Page 1of5

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA : Order of Restitution
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19 Cr. 535 (GHW)
PAUL A. RINFRET,
Defendant.
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Upon the application of the United States of America, by
its attorney, Audrey Strauss, Acting United States Attorney for
the Southern District of New York, Robert L. Boone, Assistant
United States Attorney, of counsel; the presentence report; the
Defendant’s conviction on Counts One and Two of the above
Indictment; and all other proceedings in this case, it is hereby

ORDERED that:

1. Amount of Restitution

 

PAUL A. RINFRET, the Defendant, shall pay restitution in the
total amount of $12,290,803.00 pursuant to 18 U.S.C. § 3663 and 18
U.S.C. § 3663A (MVRA), to the victims of the offenses charged in
Counts One and Two. The names, addresses, and specific amounts
owed to each victim are set forth in the Schedule of Victims,
attached hereto as Schedule A. Upon advice by the United States
Attorney’s Office of a change of address of a victim, the Clerk of
the Court is authorized to send payments to the new address without

further order of this Court.

 
Case 1:19-cr-00535-GHW Document 44 Filed 11/06/20 Page 2 of 5

2
A. Joint and Several Liability

Restitution is not joint and several with other defendants

or with others not named herein.

B. Apportionment Among Victims
Pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
be paid before the United States is paid. Restitution shall be
paid to the victims identified in the Schedule of Victims, attached
hereto as Schedule A, on a pro rata basis, whereby each payment
shall be distributed proportionally to each victim based upon the
amount of loss for each victim, as set forth more fully in Schedule

A.

2. Schedule of Payments

 

Pursuant to 18 U.S.C. § 3664(f) (2), in consideration of the
financial resources and other assets of the Defendant, including
whether any of these assets are jointly controlled; projected
earnings and other income of the Defendant; and any financial
obligations of the Defendant; including obligations to dependents,
the Defendant shall pay restitution in the manner and according to
the schedule that follows:

The total amount of restitution is due and payable
immediately pursuant to 18 U.S.C. § 3572(d)(1) upon entry of

this judgment.

 
Case 1:19-cr-00535-GHW Document 44 Filed 11/06/20 Page 3 of 5

3
In the interest of justice, restitution shall be payable in

installments pursuant to 18 U.S.C. § 3572(d) (1) and (2). The

Defendant shall commence monthly installment payments in an

amount equal to ten percent of the Defendant’s gross income,

payable on the first of each month, upon release from prison.
If the Defendant defaults on the payment schedule

set forth above, the Government may pursue other remedies to

enforce the judgment.

3. Payment Instructions

The Defendant shall make restitution payments by certified
check, bank check, money order, wire transfer, credit card or cash.
Checks and money orders shall be made payable to the “SDNY Clerk
of the Court” and mailed or hand-delivered to: United States
Courthouse, 500 Pearl Street, New York, New York 10007 - Attention:
Cashier, as required by 18 U.S.C. § 3611. The Defendant shall write
his name and the docket number of this case on each check or money
order. Credit card payments must be made in person at the Clerk’s
Office. Any cash payments shall be hand delivered to the Clerk’s
Office using exact change, and shall not be mailed. For payments
by wire, the Defendant shall contact the Clerk’s Office for wiring

instructions.

 
Case 1:19-cr-00535-GHW Document 44 Filed 11/06/20 Page 4 of 5

4, Additional Provisions

 

The Defendant shall notify, within 30 days, the Clerk of
Court, the United States Probation Office (during any period of
probation or supervised release), and the United States Attorney’s
Office, 86 Chambers Street, 3rd Floor, New York, New York 10007
(Attn: Financial Litigation Unit) of (1) any change of the
Defendant’s name, residence, or mailing address or (2) any material
change in the Defendant’s financial resources that affects the
Defendant’s ability to pay restitution in accordance with 18 U.S.C.
§ 3664(k). If the Defendant discloses, or the Government otherwise
learns of, additional assets not known to the Government at the
time of the execution of this order, the Government may seek a
Court order modifying the payment schedule consistent with the
discovery of new or additional assets.

5. Restitution Liability

The Defendant’s liability to pay restitution shall terminate
on the date that (1) the victims listed in Schedule A have been
made whole, or (2) is the later of 20 years from the entry of
judgment or 20 years after the Defendant’s release from
imprisonment, as provided in 18 U.S.C. § 3613(b). Subject to the
time limitations in the preceding sentence, in the event of the
death of the Defendant, the Defendant’s estate will be held

responsible for any unpaid balance of the restitution amount, and

 

 
Case 1:19-cr-00535-GHW Document 44 Filed 11/06/20 Page 5of5

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any lien filed pursuant to 18 U.S.C. § 3613(c) shall continue until

the estate receives a written release of that liability.

6. Sealing

Consistent with 18 U.S.C. $§§3771(a) (8) & 3664(d) (4) and
Federal Rule of Criminal Procedure 49.1, to protect the privacy
interests of victims, the Schedule of Victims, attached hereto as
Schedule A, shall be filed under seal, except that copies may be
retained and used or disclosed by the Government, the Clerk’s
Office, and the Probation Department, as need be to effect and

enforce this Order, without further order of this Court.

SO ORDERED:

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HONORABLE) GREGORY H. WOODS DATE
UNITED STATES DISTRICT JUDGE

 
